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Exhibit A

Proposed Order

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
Energy Future Holdings Corporation, et al., Case No. 14-10979 (CSS)
Debtors. Jointly Administered
Re: Docket Nos. 1500, 1501 & |

ORDER GRANTING WILMINGTON SAVINGS FUND SOCIETY, FSB’S MOTION
PURSUANT TO LOCAL RULES 9006-1(c) AND 9006-1(e) FOR AN ORDER
SHORTENING THE TIME TO CONSIDER WILMINGTON SAVINGS FUND
SOCIETY FSB’S MOTION FOR ENTRY OF AN ORDER AUTHORIZING
WILMINGTON SAVINGS FUND SOCIETY, FSB
TO FILE (1) REDACTED VERSION OF ITS JULY 8, 2014 LETTER
AND (IT) CERTAIN EXHIBITS TO THE LETTER UNDER SEAL

Upon consideration of the motion (the “Motion to Shorten”)! of Wilmington Savings

Fund Society, FSB (“WSFS”) for entry of an Order providing that the applicable notice period
for the relief requested in WSFS’s Motion for Entry of an Order Authorizing WSFS to File (I)
Redacted Version of its July 8, 2014 Letter And (II) Certain Exhibits to the Letter Under Seal

(the “Motion to Seal”), be shortened pursuant to Rule 9006-l(e) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of
Delaware (the “Local Rules”) and section 105(a) of the United States Bankruptcy Code, 11

U.S.C. §§ 101 et seg. (the “Bankruptcy Code’); and the Court having determined that granting

the relief requested in the Motion to Shorten is appropriate; and it appearing that due and
adequate notice of the Motion to Seal and the Motion to Shorten has been given, and after due
deliberation and sufficient cause appearing therefore, it is hereby,

ORDERED, that the Motion to Shorten is granted; and it is further,

" Capitalized terms not defined herein shall have the meanings given to them in the Motion to Shorten.

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ORDERED, that the Motion to Seal shall be heard on July 10, 2014 at 9:30 a.m.
(EDT), and that any objections to the relief requested in the Motion to Seal shall be heard at the
hearing; and it is further,

ORDERED, that this Court shall retain jurisdiction over any and all matters
arising from or related to the implementation of this Order.

Dated: July , 2014
Wilmington, DE

The Honorable Christopher S. Sontchi
United States Bankruptcy Judge

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